          Case 2:19-cv-02415-JAR-ADM Document 25 Filed 12/23/19 Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

RAY EARL ROBERTS,                             )
                                              )
                       Plaintiff,             )
                                              )
       vs.                                    )               Case No. 19-2415-JAR-ADM
                                              )
WALMART, INC.,                                )
                                              )
                       Defendant.             )
                                              )

                                              ORDER

       The Court has been advised by counsel that the parties have reached an agreement settling this

case in its entirety before ADR (Doc. 24).

       The clerk shall administratively terminate this action without prejudice. Pursuant to Rule

41(a)(1) of the Federal Rules of Civil Procedure, the parties shall file a stipulation of dismissal signed

by the parties, on or before January 27, 2020. The parties may reopen the proceedings for good

cause shown, for the entry of any stipulation or order, or for any other purpose required to obtain a

final determination of the litigation. If no stipulation is received and the parties have not moved to

reopen the case within the specified time, this order shall constitute the Court’s entry of final judgment

of dismissal with prejudice pursuant to Rule 41(a)(2).

       IT IS SO ORDERED.

Dated: December 23, 2019
                                                       S/ Julie A. Robinson
                                                      JULIE A. ROBINSON
                                                      UNITED STATES DISTRICT JUDGE
